Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 1 of 8 Page|D 17

IN THE UNITED STATES DISTRICT COURT F | |_ E D By
FOR THE WESTERN DISTRICT OF TENNESSEE '
EASTERN DIVISION _|U|_ 1 3 2005
Thom¢s M. aetna cum

U. S. Dlstn'ct Coun

ERNEST W. HOGAN, W- D- OF TN. Jackson

Plaintiff,
VS. No. 05-1029-T-An

WEAKLEY COUNTY DETENTION
CENTER, et al.,

Defendants.

\-/\-/\-_/\-,/\-_/\-_/\-_/\-_/\-_/\--/

 

ORDER GRANTING MOTlON FOR SUMMARY JUDGMENT
OF DEFENDANTS WEAKLEY COUNTY DETENTION CENTER,
JAIL ADMINISTRATOR JIM PHELPS, AND JAILER CHUCK STEGALL
AND ORDER TO SHOW CAUSE

 

Plaintiff, a prisoner acting pro se, filed this action in the Circuit Court of Weakley
County, Tennes see. Plaintiff alleged that Defendants violated his constitutional rights under
the Eighth Amendment by demonstrating deliberate indifference to his serious medical needs
While he Was incarcerated at the Weakley County Detention Center. Defendants removed
the action to this court With jurisdiction predicated on 28 U.S.C. § 1331.

Defendants Weakley County Detention Center, Jail Administrator Jim Phelps, and
Jailer Chuck Stegall have filed a motion for summary jud gment. ‘ Plaintiff has not responded

to the motion. For the reasons set forth below, Defendants’ motion is GRANTED_

 

l Defendant J eff Vinson has not been served with process. ThiS document entered on the docket sheet jn gomp"an
ce

with Rule 58 and/or 79 (a) FHCP on D'l '15 '05

@

Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 2 of 8 Page|D 18

Motions for summary judgment are governed by Rule 56 of the Federal Rules of Civil
Procedure. To prevail on a motion for summary judgment, the moving party has the burden
of showing the “absence of a genuine issue of material fact as to an essential element of the
nonmovant's case.” Street v. J.C. Bradforcl & Co., 886 F.Zd 1472, 1479 (6th Cir. 1989). The
moving party may support the motion with affidavits or other proof or by exposing the lack
of evidence on an issue for which the nonmoving party will bear the burden of proof at trial.
Celotex Coru. v. Catrett, 477 U.S. 317, 324 (1986). The opposing party may not rest upon
the pleadings but, “by affidavits or as otherwise provided in this rule, must set forth specific
facts showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e).

“If the defendant . . . moves for summary judgment . . . based on the lack of proof of
a material fact, . . . [t]he mere existence of a scintilla of evidence in support of the plaintiffs
position will be insufficient; there must be evidence on which the jury could reasonably find

for the plaintiff.” Anderson v. Libertv Lobbv, lnc., 477 U.S. 242, 252 (1986). The court's

 

function is not to weigh the evidence, judge credibility, or in any way determine the truth
of the matter, however. Anderson, 477 U.S. at 249. Rather, “[t]he inquiry on a summary
judgment motion . . . is . . . ‘whether the evidence presents a sufficient disagreement to
require submission to a [trier of fact] or whether it is so one-sided that one party must prevail
as a matter of law.”’ M, 886 F.Zd at 1479 (quoting Anderson, 477 U.S. at 251-52).
Doubts as to the existence of a genuine issue for trial are resolved against the moving party.

Adickes v. S. H. Kress & Co., 398 U.S. 144, 158-59 (1970).

Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 3 of 8 Page|D 19

If a party does not respond to a motion for summary j udgment, the F ederal Rules of Civil
Procedure provide that “summary judgment, if appropriate, shall be entered against him.”
Fed. R. Civ. P. 56(e). The fact that Plaintiff did not respond does not require granting
Defendants’ motion. However, if the allegations of the complaint are contravened by
Defendants’ affidavits and Defendants are entitled to judgment as a matter of law on those
facts, then summary judgment is appropriate Wilson v. Citv of Zanesville, 954 F.2d 349,
351 (6th Cir. 1992).

In his complaint, Plaintiff alleges that, while he was incarcerated, Defendants
removed him from a “handy cap cell with no obvious reason” and placed him “in another
pod upstairs on a top bunk with callous disregard to [his] disabilities.” Complaint at para.
4. Plaintiff further alleges that he injured himself when he “fell jumping down to take [a]
shower.” l_d. Plaintiff alleges that Defendants “let [him] lie in the floor on concrete for two
days & one night and refused [him] medical services, not even an aspirin.” lgll Plaintiff
alleges that he was discharged from the jail “in the cold rain” and had to “Walk
approximately 6 miles to [his] home.” I_d. Plaintiff contends that the alleged violation of his
constitutional rights was due to the “gross negligence” of Defendantsl Id_. at para. 1-3.

Defendant Jim Phelps is the jail administrator, and Defendants Jeff` Vinson and
Chuck Stegall are jailers.

ln support of their motion, Defendants have attached the affidavit of Mike Wilson,

Sheriff of Weakley County, at the time of the alleged incident Sheriff Wilson’s affidavit

Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 4 of 8 Page|D 20

states that Plaintiff was moved from a pre-trial detention cell to a post-sentence cell after he
was sentenced on November 27, 2003. The affidavit further states that Defendant Phelps
was not on duty and was not present during the alleged incident Wilson Affidavit, Exhibit
2 to Defendants’ Motion.

Attached to Sheriff Wilson’s affidavit is a copy of the incident report. l_d. at Exhibit
B. The incident report states that Plaintiff reported to Pamela Summers and Defendant
Vinson that he had fallen off his bunk.2 Summers states that officers checked on Plaintiff
and that she listened on the speaker in Plaintiff’s cell after the officers had left and Plaintiff
did not mention that he was in any pain. l_d._; Summers Affidavit, Exhibit 4 to Defendants’
Motion.

Summers’ Affidavit states that Defendant Vinson, a trained paramedic, examined
Plaintiff and determined that he had not suffered any serious injury. ld_. Summers saw no
signs of injury and did not believe that Plaintiff was in need of medical care, although he did
complain that his foot hurt. Ld.

The affidavit of Defendant Phelps states that he did not place Plaintiff in a handicap
accessible cell because of Plaintif ’s “answers to normal booking questions and his visible
physical condition.” Phelps Affidavit, Exhibit 3 to Defendants’ Motion. Defendant also
states that he received no complaints from Plaintiff as to the medical care that he received

while in the jail and made no requests for medical care. ld_.

 

2 Defendant Vinson is a trained paramedic. Wilson Affidavit; Phelps Affidavit.

4

Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 5 of 8 Page|D 21

Defendant Stegall’s affidavit states that he observed Plaintiff after his fall and did not
see any injuries Stegall Affidavit, Exhibit 5 to Defendants’ Motion. Plaintiff was released
on furlough the next day. At that time, he did not make any complaints about his physical
condition. l_d_.

A prisoner alleging an Eighth Amendment claim for inadequate medical treatment
must show that the defendants acts or omissions amounted to deliberate indifference to his
serious medical needs. Estelle v. Gamble, 429 U.S. 97 (1976). The Supreme Court has
defined “deliberate indifference” as acting with criminal recklessness, or a conscious
disregard of a substantial risk of serious harm. Farmer v. Brennan, 511 U.S. 825 (1994).
Deliberate indifference requires that “the official must both be aware of facts from which
the inference could be drawn that a substantial risk of serious harm exists, and he must also
draw the inference.” I_d_. Prison officials who knew of a substantial risk to the inmate's
health or safety may be found not liable if they responded reasonably to the risk, even if the
harm ultimately Was not averted. I_d. at 1982-83.

Defendants’ affidavits refute Plaintiff‘s allegations that he received such inadequate
medical treatment so as to “shock the conscience” or “be intolerable to fundamental
fairness.” Plaintiff was examined by Defendant Vinson, a trained paramedic, who
determined that Plaintiff was not injured to the extent that he needed medical treatment
Neither Summers nor Defendant Stegall observed any injuries. Additionally, Plaintiff made

no complaints when he was furloughed

Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 6 of 8 Page|D 22

Plaintiff’s allegation that he was left lying on the floor for two days is refuted by
Defendants’ affidavits that he was checked on by Summers and Defendants Vinson and
Stegall. Moreover, Defendants have presented evidence that Plaintiff was furloughed the
day after the incident, which disputes Plaintiff"s allegation that he was left “lying on the
floor for two days.” Plaintiff’s medical intake record disputes his allegation that he was
disabled and should have been given a handicap accessible cell. Stegall Affidavit.

At most, Plaintiff has shown a disputed issue of fact as to whether Defendants were
negligent in the diagnosis and treatment of Plaintiff s medical condition. Thus, Plaintiff has
failed to allege a claim against the individual defendants that is cognizable under 42 U.S.C.
§§ 1983. SM Davidson v. Cannon, 474 U.S. 344, 348 (1986) (Generally, a plaintiff must
show that a deprivation of constitutional rights was intentional or the result of gross
negligence to establish a claim cognizable under § 1983.)

Additionally, as to Defendant Phelps in his role as jail administrator, general
allegations of administrative negligence fail to state a constitutional claim cognizable under
§ 1983. §§ Rizzo v. Goode, 423 U.S. 362, 370-377 (1976). Therefore, the claims against
Defendant Phelps are dismissed on this ground, as well as that stated above.

Weakley CountyDetention Center must be dismissed from the action because it is not
a legal entity susceptible to suit. EMatthews v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994).

Because Plaintiff has failed to establish a disputed issue of fact as to whether

Defendants Were deliberately indifferent to his serious medical needs, Defendants are

Case 1:05-cv-01029-.]DT-STA Document 10 Filed 07/13/05 Page 7 of 8 Page|D 23

entitled to summary judgment, and Defendants’ motion is GRANTED.

Plaintiff has not served Defendant Vinson with processl Plaintiff is ORDERED to
show cause within twenty (20) days why the action as to Defendant Vinson should not be
dismissed for failure to comply with Fed. R. Civ. P. 4. Failure to respond to this order will
result in the dismissal of the action as to Defendant Vinson. S_ee Fed. R. Civ. P. 41.

IT IS SO ORDERED.

WZQ»M

ES D. TODD
ITED STATES DISTRICT JUDGE

/;1% aims

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01029 was distributed by fax, mail, or direct printing on
.luly 13, 2005 to the parties listedl

sssEE

 

Pani Belew

CIRCUIT COURT CLERK
Weakley County Courthouse
P.O. Box 28

Dresden7 TN 38225

.l ames 1. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

.l on A. York

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, TN 38305

Ernest E. Hogan
1480 Jewell Store Rd.
Dresden7 TN 38225

Honorable .l ames Todd
US DISTRICT COURT

